
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-297-CV



IN RE DARCY LEAL NICHOLS AND DONNA NICHOLS	RELATORS



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM





PANEL &nbsp;A: &nbsp;CAYCE, C.J.; DAUPHINOT and WALKER, JJ. 



WALKER, J. would request a response.



DELIVERED: &nbsp;August 30, 2007



FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




